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CASE LOMBARDI & PETTIT
A Law Corporation
LISSA A. ANDREWS                 3390
FREDERICK W. ROHLFING III 3474
Pacific Guardian Center, Mauka Tower
737 Bishop Street, Suite 2600
Honolulu, Hawaii 96813
Telephone No.: (808) 547-5400
Facsimile No.: (808) 523-1888
landrews@caselombardi.com
frohlfing@caselombardi.com
Attorneys for Defendants
MYDATT SERVICES, INC., dba BLOCK BY BLOCK,
SMS HOLDINGS COMPANY, and BLOCK BY BLOCK

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAI‘I

STEPHEN BROOM,                          CIVIL NO. CV 18-00358 JMS-RT

              Plaintiff                 DEFENDANTS MYDATT
                                        SERVICES, INC., DBA BLOCK
      vs.                               BY BLOCK, SMS HOLDINGS
                                        COMPANY, AND BLOCK BY
MYDATT SERVICES, INC.; dba              BLOCK’S SUPPLEMENTAL
BLOCK BY BLOCK; SMS                     MEMORANDUM IN SUPPORT
HOLDINGS COMPANY; BLOCK BY              OF MOTION TO COMPEL
BLOCK, JOHN DOES 1-5; JANE              ARBITRATION AND TO
DOES 1-5; DOE CORPORATIONS              DISMISS OR,
1-5; DOE LLCS 1-5; DOE                  ALTERNATIVELY, TO STAY
PARTNERSHIPS 1-5; DOE NON-              PROCEEDINGS PENDING
PROFIT ORGANIZATIONS 1-5; and           ARBITRATION (ECF NO. [14]);
DOE GOVERNMENTAL AGENCIES               CERTIFICATE OF SERVICE
1-5,
                                        [Caption Continued on Next Page]
              Defendants.
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                                               HEARING:

                                               Date:      April 1, 2019
                                               Time:      10:00 a.m.
                                               Judge:     The Honorable J. Michael
                                                          Seabright


                                               Trial Date: October 22, 2019




 DEFENDANTS MYDATT SERVICES, INC., DBA BLOCK BY BLOCK,
      SMS HOLDINGS COMPANY, AND BLOCK BY BLOCK’S
  SUPPLEMENTAL MEMORANDUM IN SUPPORT OF MOTION TO
COMPEL ARBITRATION AND TO DISMISS OR, ALTERNATIVELY, TO
   STAY PROCEEDINGS PENDING ARBITRATION (ECF NO. [14])

        Defendants MYDATT SERVICES, INC., dba BLOCK BY BLOCK

(“Mydatt”), SMS HOLDINGS COMPANY (“SMS”), and BLOCK BY BLOCK

(collectively,      “SMS   Defendants”),       by   and    through    their   attorneys,

Case Lombardi & Pettit, submit their Supplemental Memorandum in support of

Defendants Mydatt Services, Inc., dba Block by Block, SMS Holdings Company,

and Block by Block’s Motion to Compel Arbitration and to Dismiss or,

Alternatively, to Stay Proceedings Pending Arbitration (ECF No. [14]) (“Motion”).

This Supplemental Memorandum is filed pursuant to the Court’s Order

ECF No. [24] (“Order re Briefing”) stating in pertinent part that by

March 25, 2019, “the parties may also file simultaneous supplemental memoranda,




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limited to 10 pages or the equivalent word court under LR 7.5, addressing whether

the terms of the applicable AAA rules are substantively unconscionable.”

I.      INTRODUCTION

        In the Order re Briefing, the Court gave the parties until March 25, 2109,

“to supplement the record with evidence of the applicable AAA rules regarding a

potential arbitration's costs and fees.”1 SMS Defendants have done so by filing on

March 8, 2019 (ECF No. [23]), the “Declaration of Frederick W. Rohlfing III in

Response to Order (ECF No. [22]) Directing Supplementation of the Record

Regarding Defendants Mydatt Services, Inc., dba Block By Block, SMS Holdings

Company, and Block By Block's Motion to Compel Arbitration and to Dismiss or,

Alternatively, to Stay Proceedings Pending Arbitration (ECF No. [14])”

(“Rohlfing Decl.”) together with Exhibits 9 and 10.

        Under the applicable AAA rules, the “Non-refundable filing fee” for

Plaintiff Stephen Broom (“Plaintiff” or “Broom”) is capped at $300, while

SMS Defendants must pay a “Non-refundable filing fee” of $1,900 and a

“Case Management Fee” of $750. With regard to arbitrator compensation,


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     The Court also stated in pertinent part: “The parties are encouraged to meet and
     confer regarding the applicable rules and submit an agreed-upon version if
     possible. If there is a dispute as to which rules apply, both sides may submit
     evidence.” Counsel for the parties did confer on March 12, 2019, and again on
     March 21, 2019, but were unable to reach an agreement as to the applicable
     rules.


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SMS Defendants are obligated to pay the arbitrator’s compensation. Moreover,

arbitrator compensation, expenses, and administrative fees are not subject to

reallocation by the arbitrator except upon the arbitrator’s determination that a claim

or counterclaim was filed for purposes of harassment or is patently frivolous.

        The costs of the arbitration required by the Arbitration Agreement to which

Plaintiff agreed therefore do not make the Arbitration Agreement unconscionable

and the Arbitration Agreement is enforceable against Plaintiff.

II.     ARGUMENT

        The Court’s Order (ECF No. [22]) (“Order re Supplementing Record”)

directed the parties in pertinent part “to supplement the record with the applicable

AAA rules.” The Court stated further:

        In this regard, the court has independently reviewed a version of
        AAA’s Employment Arbitration Rules and Mediation Procedures
        and a “Costs of Arbitration” section (effective October 1, 2017) at
        www.adr.org, as well as an archived version of “Employment
        Arbitration Rules and Medication Procedures as of July 1, 2015” at
        that site. At the hearing, the parties should be prepared to discuss
        whether either of these versions are applicable to an arbitration
        agreement apparently entered into on September 28, 2015. If so, they
        should be prepared to discuss whether those terms regarding
        allocation of costs and fees for the arbitrator are substantively
        unconscionable.

        Exhibit 9 is a print-out of the current American Arbitration Association

Employment Arbitration Rules and Mediation Procedures available online at




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“adr.org/employment.”2 These are the AAA’s “applicable Rules” referred to in the

Arbitration Agreement between Broom and the SMS Defendants (see Arbitration

Agreement attached as Exhibit 6 to SMS Defendants’ Reply Memorandum

(ECF No. [20-3]). The Arbitration Agreement states further: “The AAA Rules will

govern the allocation of costs between the parties and the course of the proceedings

unless otherwise.”

        The current AAA Employment Arbitration Rules and Mediation Procedures

and the AAA “Costs of Arbitration” section (Amended and Effective

October 1, 2017) will apply to the arbitration between Broom and SMS Defendants

because Rule 1 of the AAA Employment Arbitration Rules and Mediation

Procedures states in pertinent part: “These rules, and any amendment of them, shall

apply in the form in effect at the time the demand for arbitration or submission is

received by the AAA.”

        Since Broom’s demand for arbitration to AAA has yet to occur, when it does

occur, the current AAA Employment Arbitration Rules and Mediation Procedures

and the current AAA “Costs of Arbitration” section (Amended and Effective

October 1, 2017) will apply because they will be “in effect at the time the demand

for arbitration or submission is received by the AAA.” See also Collins v. Diamond

Pet Food Processors of California, LLC, No. 2:13-CV-00113-MCE, 2013

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    Rohlfing Decl., ¶ 3.


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WL 1791926, at *6 (E.D. Cal. Apr. 26, 2013) (“[a]s to Plaintiffs[’] argument that it

is not clear from the arbitration agreement which version of the AAA rules apply,

the AAA Employment Arbitration Rules also resolve this uncertainty by stating

that “[t]hese rules, and any amendment of them, shall apply in the form in effect at

the time the demand for arbitration or submission is received by the AAA”).

        SMS Defendants anticipate that Broom will argue that the archived version

(“Archived Version”) of “Employment Arbitration Rules and Medication

Procedures as of July 1, 2015" rather than the current AAA Employment

Arbitration Rules and Mediation Procedures and the current AAA “Costs of

Arbitration” section (Amended and Effective October 1, 2017) will apply to the

arbitration between Broom and SMS Defendants because the Arbitration

Agreement           was   entered   into   by       Broom   and   SMS   Defendants   on

September 28, 2015. For the reasons set forth above, Broom’s argument is

erroneous. Moreover, Rule 1 of the Archived Version also states: “These rules, and

any amendment of them, shall apply in the form in effect at the time the demand

for arbitration or submission is received by the AAA.” Since Broom’s demand for

arbitration to AAA has yet to occur, when it does occur, the form of the AAA rules

“in effect at the time the demand for arbitration or submission is received by the

AAA” will be the current AAA Employment Arbitration Rules and Mediation




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Procedures and the current AAA “Costs of Arbitration” section (Amended and

Effective October 1, 2017).

        Rule 43 of the AAA Employment Arbitration Rules and Mediation

Procedures states in pertinent part: “AAA fees shall be paid in accordance with the

Costs of Arbitration section. The AAA may, in the event of extreme hardship on

any party, defer or reduce the administrative fees.”

        Exhibit 10 is a print-out of the AAA “Costs of Arbitration” section

referenced in Rules 43, 44, and 45 of the AAA Employment Arbitration Rules and

Mediation Procedures also available online at “adr.org/employment.”3

        Under the “Costs of Arbitration” section for “Single Arbitrator Disputes”

“Filed by Individual,” the Individual’s “Non-refundable filing fee” is “capped at

$300, unless the clause provides the individual pay less” and the Company’s

“Non-refundable filing fee” is “$1,900” and “Case Management Fee” is “$750”

(emphasis in original).

        Under the section for “Arbitrator Compensation” in the “Costs of

Arbitration,” it states:

           Arbitrator compensation is not included as part of the
           administrative fees charged by the AAA. Arbitrator compensation
           is based on the most recent biography sent to the parties prior to
           appointment. The employer or company shall pay the
           arbitrator’s compensation unless the employee or individual,

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    Rohlfing Decl., ¶ 6.


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           post dispute, voluntarily elects to pay a portion of the arbitrator’s
           compensation. Arbitrator compensation, expenses as defined in
           section (v) above, and administrative fees are not subject to
           reallocation by the arbitrator(s) except upon the arbitrator’s
           determination that a claim or counterclaim was filed for purposes
           of harassment or is patently frivolous. [Emphasis added.]

          Broom contends that “requiring him to share in the costs or arbitration,

considering his financial situation, makes Defendant’s Arbitration Agreement

‘unconscionable’ and unenforceable.”4 Broom states that he is currently “collecting

worker’s compensation benefits of $1,060.00 every two weeks.”5 Broom quotes

the Arbitration Agreement provision stating: “The AAA Rules will govern the

allocation of costs between the parties and the course of the proceedings unless

otherwise agreed.”6 Broom then asserts in pertinent part that “AAA requires cost

and fee splitting between the parties.”7

          As shown above, Broom's contention that the AAA requires cost and fee

splitting between the parties is incorrect. Under the applicable AAA rules, the

“Non-refundable filing fee” for Broom is capped at $300, while SMS Defendants


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    Plaintiff Stephen Broom’s Opposition to Defendants Mydatt Services, Inc.,
    dba Block by Block, SMS Holdings Company, and Block by Block’s Motion to
    Compel Arbitration and to Dismiss or, Alternatively, to Stay Proceedings
    Pending Arbitration (ECF [19]), p. 7.
5
    Broom Declaration at ¶ 4.
6
    Id.
7
    Id.


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must pay a “Non-refundable filing fee” of $1,900 and a “Case Management Fee”

of $750. With regard to arbitrator compensation, SMS Defendants are obligated to

pay the arbitrator’s compensation. Moreover, arbitrator compensation, expenses,

and administrative fees are not subject to reallocation by the arbitrator except upon

the arbitrator’s determination that a claim or counterclaim was filed for purposes of

harassment or is patently frivolous. Unlike the circumstances described by the

Hawaii Supreme Court in Gabriel v. Island Pac. Acad., Inc., 140 Hawai`i 325,

400 P.3d 526, cert. dismissed, 138 S.Ct. 499, 199 L.Ed.2d 381 (2017) (in which the

AAA Employment Arbitration Rules and Mediation Procedures did not apply),

there is no cost-splitting provision in this case that would make it “prohibitively

expensive” for Broom to pursue his claims in the arbitral forum. Id. at 337,

400 P.3d at 538. Moreover, “courts cannot apply even generally applicable

defenses to contract enforceability, such as unconscionability, in a way that

disfavors and undermines arbitration.” Collins, 2013 WL 1791926, at *3, citing

AT & T Mobility LLC v. Concepcion, 563 U.S. 333, 343 (2011).

        The costs of the arbitration required by the Arbitration Agreement to which

Broom agreed therefore do not make the Arbitration Agreement unconscionable

and the Arbitration Agreement is enforceable against Plaintiff.




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III.    CONCLUSION

        For the foregoing reasons, SMS Defendants respectfully request that the

Court enter an order compelling arbitration of all of Broom’s claims against

SMS Defendants and to dismiss Broom’s claims or, alternatively, to order the

above-captioned case stayed pending arbitration.

        DATED:      Honolulu, Hawai‘i; March 25, 2019.

                                     /s/ Frederick W. Rohlfing III
                                     LISSA H. ANDREWS
                                     FREDERICK W. ROHLFING III
                                     Attorneys for Defendants
                                     MYDATT SERVICES, INC., dba
                                     BLOCK BY BLOCK, SMS HOLDINGS
                                     COMPANY, and BLOCK BY BLOCK




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